                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION
                      CIVIL ACTION FILE NO.: 5:19-CV-445-FL

 PHILADELPHIA INDEMNITY                          )
 INSURANCE COMPANY,                              )
             Plaintiff,                          )
                                                 )
                        v.                       )
                                                 )
 CHEROKEE GIVES BACK FOUNDATION;                 )
 THOMAS F. DARDEN II; THOMAS F.                  )
 DARDEN III; SLOCUM H. FOGLEMAN III              )
 a/k/a S. H. "JIM" FOGLEMAN; SAMUEL              )
 W. WHITT; MAURICE J. COLEMAN;                   )
 LATOYA KING a/k/a LATOYA GODLEY                 )
 and RSUI INDEMNITY COMPANY,                     )      ORDER ON JOINT MOTION
                  Defendants                     )        TO CONTINUE STAY
                                                 )
 And                                             )
                                                 )
 PHILADELPHIA INDEMNITY                          )
 INSURANCE COMPANY,                              )
            Counterclaim Defendant               )
            and Third-Party Plaintiff            )
                                                 )
                   v.                            )
                                                 )
 STEADFAST INSURANCE COMPANY,                    )
             Counterclaimant and                 )
             Third-Party Defendant               )


       This matter is before the Court on the Joint Motion to Continue Stay (the “Motion”)

filed by Plaintiff Philadelphia Indemnity Insurance Company, Defendants Cherokee Gives

Back Foundation, Thomas F. Darden II, Thomas F. Darden III, Slocum H. Fogleman III

a/k/a S. H. “Jim” Fogleman, Samuel W. Whitt, Maurice J. Coleman, and LaToya King a/k/a

LaToya Godley, and Third-Party Defendant Steadfast Insurance Company (collectively, the

“Parties”).

       Having considered the Motion, the Court finds good cause exists to continue to stay

further proceedings in this case for an additional sixty (60) days to allow the settlement



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approval process in the Class Action to develop to the point where the Parties' settlement of

this action will become final.

       It is therefore ORDERED that the Joint Motion to Continue Stay is HEREBY

GRANTED, and all deadlines and further action in this case are HEREBY STAYED for

sixty (60) days.



       SO ORDERED, this the 27th day of December, 2024.




                                           LOUISE W. FLANAGAN
                                           United States District Judge




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